
PER CURIAM.
11 Denied. Relator fails to show he received ineffective assistance of counsel under the standard of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). Additionally, relator fails to show the state withheld material exculpatory evidence in violation of Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 216 (1963).
Relator has now fully litigated his application for post-conviction relief in state court. Similar tq federal habeas relief, see 28 U.S,G, § 2244,. Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as s,et out in La.G.Cr,P. art. 930.8. Notably, the Legislature in 2013 La. Acts 261 amended that article to make the procedural bars against successive filings mandatory. . Relator’s claims have now been fully litigated in accord with La.C,Cr.P. art. 930.6, and this denial is final. Hereafter, unless he .can show that one ,of the narrow exceptions .authorizing the filing of. a successive application applies, relator has exhausted his right, to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
